

Matter of Attorneys in Violation of Judiciary Law § 468-a (Griegel) (2023 NY Slip Op 02930)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Griegel)


2023 NY Slip Op 02930


Decided on June 1, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 1, 2023

PM-114-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Steven Wayne Griegel, Respondent. (Attorney Registration No. 4475927.)

Calendar Date:March 6, 2023

Before:Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ., concur.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Steven Wayne Griegel, Hamilton, New Jersey, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1430 [3d Dept 2022]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit sworn to February 2, 2023 with exhibits and the March 2, 2023 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Trelease, 214 AD3d 1297, 1297 [3d Dept 2023]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Clark, Pritzker, Ceresia and McShan, JJ., concur.








